                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                               FAYETTEVILLE DIVISION



 FAYETTEVILLE PUBLIC LIBRARY, et al.,                                         PLAINTIFFS

 v.                                 NO. 5:23-CV-05086-TLB

 CRAWFORD COUNTY, ARKANSAS, et al.,                                           DEFENDANTS



        PLAINTIFF ARKANSAS LIBRARY ASSOCIATION’S RESPONSES TO
      DEFENDANTS’ FIRST SET OF INTERROGATORIES AND REQUESTS FOR
                      PRODUCTION OF DOCUMENTS

        Pursuant to Federal Rule of Civil Procedure 33 and 34, Plaintiff Arkansas Library
Association (“ArLA”), by and through its undersigned attorneys, hereby responds and objects to
Defendants Todd Murray, Sonia Fonticiella, Devon Holder, Matt Durrett, Jeff Phillips, Will Jones,
Teresa Howell, Ben Hale, Connie Mitchell, Dan Turner, Jana Bradford, Frank Spain, Tim Blair,
Kyle Hunter, Daniel Shue, Jeff Rogers, David Ethredge, Tom Tatum, II, Drew Smith, Rebecca
Reed Mccoy, Michelle C. Lawrence, Debra Buschman, Tony Rogers, Joshua Robinson, Carol
Crews, Kevin Holmes, Chris Walton, and Chuck Graham’s (the “Prosecutor Defendants”) First
Set of Interrogatories and Requests for Production. ArLA expressly reserves the right to amend or
supplement these Responses and Objections, as necessary.

                                   GENERAL OBJECTIONS

        1.      ArLA objects to the Interrogatories and Requests For Production, including the
Instructions and Definitions contained therein, to the extent they purport to impose requirements
that are inconsistent with, or beyond those contemplated by, the Federal Rules of Civil Procedure,
the Local Civil Rules of the United States District Court for the Western District of Arkansas, or
any other applicable rule or law. ArLA will construe and respond to each Interrogatory in
accordance with the requirements of the Federal Rules of Civil Procedure, the Local Civil Rules,
and any other applicable rule or law.

       2.      ArLA objects to the Interrogatories and Requests for Production to the extent they
seek information that is not relevant to ArLA’s claims or the Prosecutor Defendants’ defenses
and/or are not proportional to the Prosecutor Defendants’ needs.

        3.     ArLA objects to the Interrogatories and Requests for Production to the extent they
seek information that is publicly available; information that is already in the possession, custody,
or control of the Prosecutor Defendants, the Prosecutor Defendants’ attorneys, or other
representatives; or information that is otherwise available from sources to which the Prosecutor

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under Section 5 for the purpose of advocating for books remaining available. Similarly, if Section
5 allowed appeals from a library’s decision to segregate or remove a challenged book, ArLA or its
members would avail themselves of that recourse. It is thus injured by its inability to participate in
the book challenge appeals process set forth in Section 5.

INTERROGATORY NO. 2:

For each judicial district in Arkansas in which one of your members reside, identify the name,
address, telephone number, and dates of membership for at least one of your members per judicial
district.

ANSWER AND OBJECTION TO INTERROGATORY NO. 2:

ArLA objects to Interrogatory No. 2 because it seeks personally identifiable information, which is
not relevant to ArLA’s claims or the Prosecutor Defendants’ defenses, and/or will impose an undue
burden on ArLA and its members that is not proportional to the Prosecutor Defendants’ needs.
ArLA specifically objects to identifying precise addresses, telephone numbers, and dates of
membership for any of its members. However, contingent upon the Court entering a protective
order that (1) requires all Defendants to treat the names of ArLA members as confidential; (2)
requires Defendants to redact ArLA’s members’ names and identifying references from public
filings and only submit ArLA’s members’ names and identifying references to the Court under
seal; and (3) prohibits Defendants from disclosing the names of ArLA members to third parties,
ArLA will provide the Prosecutor Defendants with the name of an ArLA member and the judicial
district in which the identified member resides for each judicial district in Arkansas in which ArLA
has a member.

INTERROGATORY NO. 3:

Identify 20 items in your library members’ collections that you or they believe are subject to
regulation under Section 1 of Act 372 of 2023, as alluded to in paragraph 22(a) of your Complaint.

ANSWER AND OBJECTION TO INTERROGATORY NO. 3:

ArLA objects to Interrogatory No. 3 to the extent it seeks disclosure of information protected by
the attorney-client privilege, attorney work product doctrine, common interest privilege, and other
applicable privileges. Furthermore, ArLA objects to Interrogatory No. 3 as ambiguous, vague, and
unduly burdensome because it requires ArLA to draw legal conclusions about the extent to which
materials in its member-libraries’ collections are subject to regulation under Section 1 of Act 372,
a law that ArLA alleges is unconstitutionally vague.

ArLA also objects that its ability to identify books in its members’ collections that are subject to
Act 372 would be greatly enhanced if it had the benefit of the Prosecutor Defendants’ response to
Plaintiffs’ first set of discovery requests, which should clarify, among other things, the Prosecutor
Defendants’ views on the applicability of Act 372 to a list of frequently challenged books.
Understanding how the Prosecutor Defendants, who are tasked with interpreting and enforcing Act
372, understand that law will help ArLA more accurately determine which books in its members’

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collections are likely to trigger a prosecution under Section 1 of Act 372, if they are made generally
available to library patrons, regardless of age.

Without waiving these objections, ArLA provides the following list of books, which appear in the
collections of public libraries that are ArLA members or employ ArLA members. ArLA has not
ranked these books or otherwise organized them in any particular order. ArLA has selected these
books because they are among those that have been scrutinized by officials on the State Library
Board1 and/or unfairly characterized as containing material that is legally obscene or otherwise
inappropriate for inclusion in a public library. To clarify, ArLA asserts that these books are
constitutionally protected and not legally obscene, but that they could be deemed harmful to some
young or less mature minors, even though ArLA asserts that these books are appropriate for older
and more mature minors.

    1. “It’s Perfectly Normal: Changing Bodies, Growing Up, Sex, and Sexual Health” by Robie
        Harris
    2. “Sex is a Funny Word” by Cory Silverberg
    3. “This Book Is Gay” by Juno Dawson
    4. “Out of Darkness” by Ashley Hope Perez
    5. “All Boys Aren’t Blue” by George M. Johnson
    6. “Lawn Boy” by Jonathan Evison
    7. “Jack of Hearts” by L.C. Rosen
    8. “Lucky” by Alice Sebold
    9. “A Court of Mist and Fury” by Sarah J. Maas
    10. “Gender Queer” by Maia Kobabe
    11. “Milk and Honey” by Rupi Kaur
    12. “The Handmaid’s Tale: A Graphic Novel” by Margaret Atwood
    13. “What Girls Are Made Of” by Elana Arnold
    14. “The Perks of Being a Wallflower” by Stephen Chbosky
    15. “The Nowhere Girls” by Amy Reed
    16. “The Glass Castle” by Jeannette Walls
    17. “Fallout” by Ellen Hopkins
    18. “What We Saw”by Aaron Hartzler
    19. “The Exact Opposite of Okay” by Laura Steven
    20. “Asking For It” by Louise O’Neill




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 See Debra Hale-Shelton, Jason Rapert Crowns Himself ‘Conscience of the State Library
Board,’ Wants Security At Meetings, Ark. Times, Feb. 14, 2023.
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INTERROGATORY NO. 4:

For each item identified in response to Interrogatory No. 3, identify the chapter numbers,
timestamps, or other specific indicator that you or they believe make the item subject to Section 1.

OBJECTION TO INTERROGATORY NO. 4:

ArLA objects to Interrogatory No. 4 to the extent it seeks disclosure of information protected by
the attorney-client privilege, attorney work product doctrine, common interest privilege, and other
applicable privileges. ArLA further objects to Interrogatory No. 4 as ambiguously worded, vague,
and unduly burdensome because it requires ArLA to draw legal conclusions about the extent to
which items in its member-libraries’ collections are subject to regulation under Section 1 of Act
372, a law that ArLA alleges is unconstitutionally vague. Moreover, determining if an item is
“harmful to minors” – and, thus, is subject to Act 372’s restrictions on its availability – requires
that the item be “taken as a whole,” Miller v. California, 413 U.S. 15, 24 (1973), and considered
in the context of the age and maturity of the specific minor to whom the material is made available,
see Ginsberg v. New York, 390 U.S. 629, 631-32 (1968). Prelim. Inj. Op. (Doc. 53) at 27 (“Act
372’s definition of ‘harmful to minors’ precisely tracks the Supreme Court-approved definitions
from Ginsberg and Miller”). Accordingly, it is not possible to identify which portions of the books
ArLA has identified in its answer to Interrogatory No. 3 might cause one of the Prosecutor
Defendants to initiate a prosecution without reading the books in their entirety. The burden to
ArLA of that undertaking far outweighs any possible need the Prosecutor Defendants might have
for ArLA’s views on this subject.

Accordingly, without waiving any objections and for the reasons stated above, ArLA declines to
identify specific chapter numbers, timestamps, or other specific indicators that would make the
books identified above subject to Section 1.

INTERROGATORY NO. 5:

Identify the information and the basis of your belief identified in paragraph 22(d) of your
Complaint that families will be less inclined to visit your member libraries if Act 372 prevents
them from perusing books regulated by Act 372.

ANSWER AND OBJECTION TO INTERROGATORY NO. 5:

Without waiving any objection, ArLA states that its assertion that families will be less inclined to
visit its member libraries if Act 372 goes into effect is based on the judgment and professional
experience of its board members, like its former President Carol Coffey, who has has more than
30 years of professional experience as a librarian and library administrator, and has also worked
closely with ArLA’s librarian members. As a result of her experience and relationship with ArLA
members, Ms. Coffey understands that ArLA’s member-libraries are frequently visited by families
that include children too young to be left unattended while a parent or older sibling peruse, either
as a matter of library policy or parental judgment. In such a case, the chaperoning parent or older
minor-sibling would be unable to access books segregated in an area of the library where the
younger minor is prohibited from entering.

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On the basis of this information, Ms. Coffey asserts that, if Act 372 goes into effect and prevents
parents or guardians from perusing books that the adult wants to read, families will be less inclined
to visit ArLA member-libraries.

INTERROGATORY NO. 6:

Identify the information and the basis of your belief identified in paragraph 22(d) of your
Complaint that adults will be less inclined to peruse books available only in an adults-only section
of your member libraries.

ANSWER AND OBJECTION TO INTERROGATORY NO. 6:

Without waiving any objection, ArLA states that its assertion that families will be less inclined to
visit its member libraries if Act 372 goes into effect is based on the judgment and professional
experience of its board members, like its former President Carol Coffey, who has has more than
30 years of professional experience as a librarian and library administrator, and has also worked
closely with ArLA’s librarian members. As a result of her experience and relationship with ArLA
members, Ms. Coffey understands that adult visitors to ArLA member-libraries will generally be
less inclined to peruse any books made available only in an adults-only section, as those books
have a stigma attached and are less attractive to many readers for that reason.

INTERROGATORY NO. 7:

Identify every person who has expressed to you or your members their intent to challenge library
materials under Section 5 of Act 372 of 2023.

ANSWER AND OBJECTION TO INTERROGATORY NO. 7:

ArLA objects to Interrogatory No. 7 to the extent it calls for ArLA to disclose records that are not
in its possession, custody or control or the possession, custody or control of its members, in their
capacity as ArLA members. ArLA further objects to Interrogatory No. 7 to the extent that it seeks
information that may not be disclosed by public libraries under Arkansas law. See Ark. Code Ann.
§ 13-2-703. ArLA also objects that Interrogatory No. 7 is vague because it does not specify the
form that a qualifying expression must take or specify if it seeks information about book
challenges, generally, or only those specifically previewing a future intention to challenge a book
under Section 5 of Act 372, if that law goes into effect. ArLA further objects to this request as
unduly burdensome and not proportional to the Prosecutor Defendants’ needs.

Without waiving any objections, ArLA has not collected and has not received any information
regarding any individuals who have expressed to ArLA or an ArLA member a specific, future
intention of challenging a library material using the procedures set forth in Section 5 of Act 372,
should that law go into effect.




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Date: March 18, 2024
                                             Respectfully submitted,

                                             /s/ Ben Seel

                                             Ben Seel*
                                             Will Bardwell*
                                             Aman George*
                                             Orlando Economos*
                                             DEMOCRACY FORWARD FOUNDATION
                                             P.O. Box 34554
                                             Washington, DC 20043
                                             Telephone: (202) 448-9090
                                             bseel@democracyforward.org
                                             wbardwell@democracyforward.org
                                             ageorge@democracyforward.org
                                             oeconomos@democracyforward.org

                                             Attorneys for the Arkansas Library
                                             Association

                                             *Admitted pro hac vice

                   VERIFICATION OF INTERROGATORY ANSWERS

I, Carol Coffey, Past President of the Arkansas Library Association, believe, based on reasonable
inquiry, that the foregoing answers are true and correct to the best of my knowledge, information,
and belief.

Executed March 18, 2024
                                                                   /s/ Carol Coffey
                                                                   Carol Coffey




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                               CERTIFICATE OF SERVICE

I hereby certify that on March 18, 2024, a copy of the foregoing was served upon all counsel of
record by electronic mail.
                                                           /s/ Ben Seel
                                                           Ben Seel




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